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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    SGCI HOLDINGS III LLC, et al.,

                         Plaintiffs,

                  v.                                      Civil Action No. 24-1204 (RC)

    FEDERAL COMMUNICATIONS
    COMMISSION, et al.

                         Defendants.


    JOINT UNOPPOSED MOTION BY DEFENDANTS FOR EXTENSION OF TIME TO
             ANSWER OR OTHERWISE RESPOND TO COMPLAINT

        Pursuant to Federal Rule of Civil Procedure 6(b)(1), Defendants, Federal

Communications Commission (“FCC”), Jessica Rosenworcel, in her official capacity as

Chairwoman of the FCC, and Holly Saurer, in her official capacity as Chief of the FCC’s Media

Bureau, by and through undersigned government counsel, move the Court for an extension to

August 5, 2024 of their deadline to answer or otherwise respond to the Complaint. Counsel for

the non-government Defendants join in this motion, through their undersigned counsel, and

request that their respective deadlines to answer or otherwise respond to the Complaint also be

extended to August 5, 2024, so that there is a uniform response deadline for all Defendants. 1

Plaintiffs do not oppose the relief requested. As grounds for the requested extension,

Defendants state as follows.

        1.    This action was filed on April 24, 2024, and names thirteen Defendants.




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       Counsel for Defendants Goodfriend Group, Inc. and David Goodfriend are not joining in
this motion but have advised that they consent to the relief requested.
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According to the docket, the respective deadlines for Defendants to respond to the Complaint

vary from as early as June 24, 2024 to as late as July 27, 2024.

           2.   Counsel for Plaintiffs and Defendants have conferred and have agreed that it

would be more efficient for the parties and the Court if a uniform date were set for the

Defendants to file their respective responses to the Complaint. Accordingly, Defendants

respectfully request that the deadline for Defendants to file their respective responses to the

Complaint be extended to, and including, August 5, 2024, which is the date agreed upon by the

parties.

           3.   Pursuant to Local Rule 7(m), counsel for Plaintiffs has advised that he does not

oppose the relief requested in this motion.

           4.   A proposed order is attached.

                                      Respectfully submitted,

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                                      Chief, Civil Division

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